
50 So.3d 1238 (2011)
Avis ESIAKA, Appellant,
v.
STATE of Florida, UNEMPLOYMENT APPEALS COMMISSION, Appellee.
No. 4D10-1059.
District Court of Appeal of Florida, Fourth District.
January 19, 2011.
Avis Esiaka, Augusta Georgia, pro se.
M. Elaine Howard, Deputy General Counsel, Tallahassee, for appellee.
*1239 PER CURIAM.
Affirmed. See Suarez v. Unemployment Appeals Comm'n, 871 So.2d 1039 (Fla. 5th DCA 2004).
GROSS, C.J., HAZOURI and MAY, JJ., concur.
